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UN|TED STATES DlSTR|CT COURT
EASTERN DlSTRICT OF MlSSOUR|

EASTERN DIV|SION
TRlNlTY CROSS, et al., )
)
Platntifrs, )
) Case No.: 4:DSCV-772-SNL
vs. l
)
DEN|SE STRlT|'MATl'ER, et al. )
)
Defendants. )

ADR CONFERENCE REPORT

Pursuant to this Court‘s Order dated June B, 2009, (Document 214) the
above-captioned case was scheduled for Mediation. On duly 15, 2009, the Court
appointed Neutral\ Richard Sher. (Doournentz“|i§). On August 6, 2009, the
parties appeared for Nledlation at Rloharcl Sher’s omce. By the end of the day,
the parties reached terms of a settlement ln broad strokes, the components of
the settlement include a payment to l=laintirfs, a letter from the anrd of Po|ice
Commissioners to each Plalntiff, and payment of an amount ot attorneys fees
and costs The above-referenced letter is subject to approval by the Board of
Police Commlssioners, scheduled to meet August 19, 2009. Counsel for
Defertdants, as well as General Counsel to Board of Police Commissioners, are
recornrnending approval of the letter.

l Local Rule 16-5.05 (Reporting Requirements) addresses situations in

which "an ADR referral results in decisions or agreements regarding scheduling

 

` or other case management matters." Rule 'lE-S.DS(D).

 

 

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On August 3, 2009, Defendant Denise Strittmatter filed a l\/lotion for Partlal
Summary Judgment (Dooument 217) and Memorandum in Support (Doournent
219). Chief Joseph lVlol<wa and the other Police Ofticer Defendants also filed a
joint Nlotion for Partial Summary Judgment (Document 220) and Memorandurn in
Support (Document 221). The Court’s Scheduling Order (Document 203) calls
for responses in opposition by August 24, 2009.

Counse| have a high degree of confidence that the case is going to settle
However, in the unlikely event that the Board of Po|lce Commissioners does not
ratify the letter-component of the settlement terms, Plaintiffs Would ask the Court
to amend its Order such that Plaintiffs Would be granted 21 days from the
Board’s decision to file their responses in opposition to Defendants’ Motlons
(presumably', until September 9, 2009, with replies thereto from Defendants by
September 15, ZGDQ).

Respectfully submitted

cAPEs, soKoL, GOODMAN a
_sARAcHAN, P.c.

By: /s/ Gag R. Sarachan
Gary R. Sarachan, #4254

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CERT|F|CATE OF SERVlCE

The undersigned certifies a copy of the ADR Conference Report was sent
through the Court's electronic system this 13“‘ day of August 2009, to:

Denise L. Thomasl Esq. - Assistant Attorney General
Robert isaacson ~ Assistant Attorney General
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Attorney for Defendants St. Louis Metropolitan Po|ice Deparl:ment, Mokwa,

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Is/ Garv Sarachan

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